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                       EXHIBIT E


                      _,
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               ~~                        12211 DUNCAN ROAD

              ~
                                         HOUSTON, TEXAS 77066
                                         PH. 281-893-2570
                                         FAX 281-580-9170
              HASSELL ·                  est. 1976




August 7, 2012




Re: Meeting of August 1, 2012



Dear Royce,


This letter is in regards to our meeting on Wednesday, August 1 of 2012. Hassell Construction
Company Inc. respectfully acknowledges and accepts yqur notification of your business decision
to go In a different direction than what you had previously agreed upon. With respect to your
new direction, Hassell would like to take this opportunity to give emphasis to our previou~
agreement with you that is still in place. You were notified via email on August 3, 2012 that you
had exceeded your available funds, per our February agreement, and at this time no draw
requests can be processed except for on-the-job payroll, which must include back up (i.e. time
sheets, etc) and be certified by you.

Hassell plans to proceed with the Sylvan Rodriguez and Transtar projects with a written
subcontract from R. Hassell Builders and provided that the company can adequately fund the
projects through-out and up to the point of completion. Hassell Construction Company's
portion will be 3% of the contract revenue a~d Southwest Escrow will handle all of the funds
control, per the direction of the Surety Company. Hassell Construction Company, Inc. will pay
the fee for the funds control. All administration of these projects will be handled through our
office by Mike Hassell. No one from R. Hassell Builders or R. Hassell Company can represent
themselves as Hassell Construction Company, Inc. in any manner. Hassell Construction
Company wlll have a subcontract prepared for these two projects and submitted to you for
your signature if these terms are agreeable to you. The Surety Company has verbally Informed
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Hassell Construction Company that they will no longer support any further work past these two
projects with R. Hassell Builders and R. Hassell Company as the arrangements and conditions
that were presented to them for approval ofthese projects will no longer take place. lhank
you In advance.




James C. Hassell
CEO
Hassell Construction Company, Inc.
12211 Duncan Rd
Houston, TX 77066
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~f~~                                                                                                                                 11/4/1 31
Chapman, Scott                   <Scott.Chapman@chsinc.com>
                                                                                                                                                     I
to me

Mr. Hassell,

I have reviewed your request for information with our legal counsel who confirms CHS Surety is under
no obligation to provide this information. On September 15th a similar request was made by Silvia
Hassell on September 15th CHS Surety confirmed to Mrs. Hassell this information would not be
provided.

Thank you

Scott D. Chapman
Director of Surety
CHS Surety




25025 1-45 N Freeway, Suite 525, The Woodlands, Texas 77380
Direct Phone: 832-482-4731
Direct Fax: 414-231-4600
Toll Free: 866-694-3018
Main Phone: 832-482-4730
Main Fax: 832-585-0781


We do not guarantee receipt of'incomlng e-mail messages, be advised that coverage is not considered bound, changed or cancelled by using
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CONFIDENTIAL NOTICE: This electronic transmission and any documents or other writings sent with it are confldentfaf information which is
Intended only for the named recipient and which may be legally privileged. If you receive this communication by error, please immediately
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prohibited
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             Case 19-03452 Document 1-23 Filed in TXSB on 05/03/19 Page 7 of 25




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lijl ..
('UiNlit!1
sawyer, Gene      <Gene.Sawyer@libertymutual.com>           9/11/13j
                                                                   I
to me                                                              l
At this time, we are awaiting a response from Hassell Construction on your
claim. I expect they will respond soon with their position. In the meantime,
you should be gathering the support for your claim as outlined in our letter.

Lastly, it appears you may be        an
                                 indemnitor listed on
the indemnityagreement. If that is the case, you would not be a proper
claimant. We will review this issue further to confirm.


Gene Sawyer
Liberty Mutual Surety
Surety Claims Dept
ph 214.622.9922
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                      EXHIBIT H
      Case 19-03452 Document 1-23 Filed in TXSB on 05/03/19 Page 9 of 25




sawyer, Gene   <Gene.Sawyer@libertymutual.com>           8/21 /1 4:I

to me, James                                                       I ,
Royce -

In response to your email, we offer the following.

First of all, it is our understanding that R. Hassell Construction, Royce and
Silvia Hassell, personally, and the companies are indemnitors under certain
indemnity agreement in favor of Liberty. It is further our understanding that
there are no claims currently pending against Liberty which would give rise to
liability of Mr. Hassell, et al under any of the agreements.

You have asked for a confidential conversation with Liberty about issues that
may infer or could give rise to some legal liability of Liberty toward yourself. If
such a conversation were to occur, under no circumstances could we agree to
keep the content confidential. This is true whether Liberty has in-house
counsel or outside counsel attend such a meeting. Further, as an indemnitor,
you would be liable for all costs incurred by Liberty associated with such a
non-privileged conversation.

We would encourage you to send us any information or issues in writing to our
attention and we will respond as appropriate if necessary.


Gene Sawyer
Liberty Mutual Surety
Suretv Claims Dept
ph 214.622.9922
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Transtar Funding Request

t:,,;_;~1t~iJj]
Mike                                                                                                8/23/13[
Hassell            <mhassel l@hassel lconstruction .com>
to me, Phil

Royce,

Your funding request for Transtar was forwarded to Beth Gary with Southwest Escrow. Mrs Gary has
indicated a previous email but if you need her contact information her number is 281-298-5161 and
email is bgary@swbc-csg,com. Please contact Mrs. Gary for all funding information.

Thank you,

Michael Hassell

Hassell Construction - Funds Control


                                                                                                    8/15/13]
                                                                                                                I
to me                                                                                                           I
                                                                                                                l



Royce,
My name Is Beth Gary with Southwest Escrow. I am the funds control company that will be handling
both jobs with Harris County for Transtar 1 and 2. I have attached the vouchers that we would like you
to use when submitting your draw package for processing. I also need to see a copy of the budget for
both jobs that breaks out cost and overhead & profit. Please let me know if you have any questions. I
look torward to work1 ng with you on this job.

Thanks,
Beth Gary

******** (p£ease Note our New }f.aaress **********
<Betti qary - 69ary@swec-cs9.com
Construction SerrJices qroup·'5(,Soutliwest P.scrow Company
200 <R...fver<Pointe <Dr. Suite 306 - Conroe, <JX 77304
<Pfione: 28.1-298-5161 eKf.. 201- PaJG· 281-298-8523
IN GOD WE TRUST
"This message is Intended only for the use of the individual or entity to which it Is addressed. If the reader of this message is not the intended
recipient, or the employee or agent responsible for delivering the message to the intended recipient, you are hereby notified that any
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immediately by replying to the sender of this E-Mail or by telephone."
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                       EXHIBIT J
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Tran star
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  !...J..JIL

Royce Hassell             <conrcrete@gmail.com>                    10/23/131

to James, Gene

Gentlemen,

I just received this email from Hassell Construction's "trust fund control" company
Southwest. Of course I dispute Mrs. Gary's statement, especially since the last look I
had at project costs before I was locked out showed an almost $300,000 advance (over)
billing and those funds have not been deposited with Southwest that I know
of. Furthermore the project was making our projected profit.

Without funds we will suspend operations very soon.

Sincerely,

Royce

                                                         3:56 PM (1 hour ago)
 Beth Gary

 to me, jphassell, Shawn, Mike

Royce,
I have received your voicemail about the inquiry when a check will be ready for R. Hassell
Builders. We will not be issuing any checks to R. Hassel Builders until the shortfall on Transtar 1
is sufficed to pay all vendors that are due money for July and August. Please let me know if you
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        ::inv
        -·- - I
                m1Pc;;tionc;;
                -1 -- - -
                              .


Thanks,
Beth Gary

***1rA:*** c.PLease Note our 1Vew }ltftfress **********
<Beth qary - 69ary@swec-cs9.com
Construction Sendces qroup el Southwest r£scrow Company
200 <R,fver<Pointe ©r. Suite 306 - Conroe, TX 77304
<Pfione: 281-298-5161 e;.,-t. 201 - PaJG 281-298-8523
IN GOD WE TRUST
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•   I




                              EXHIBIT K
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                                            12211 DUNCAN ROAD
                                            HOUSTON, TEXAS 77066
                                            PH. 281-893-2570
                                            FAX 281-580-9170
               HASSELL                      est.1976




September 17, 2013

RRR No. 70082810000135472271 &

BY TELECOPIER 713-963-9169




Re: Le~ter of Conflict




Dear Pascal,
                                                         (\

I am writing to Inform you that I am rescinding my signature on the letter dated March 26, 2013 1
concerning the engagement of Coats I Rose. I was influenced by Royce Hassell to sign that letter, and as
part of an effort at family reconciliation, I did so. However, regrettably the letter presented to me by
Royce contains or implies facts that are not true. When we consulted Coats I Rose, we sought advice
only on behalf of Hassell Construction Company, Inc., and not for Royce or any of his companies. We
didn't even have knowiedge of the matter referenced in the ietter, arid dearly did not and muid noi
have Imparted confidential information to Coats IRose concerning the matter. There is not now, nor has
there ever been a conflict regarding our engagement with Coats I Rose, and it should not have been
suggested to them otherwise. Please be clear on our position -we have no objection to Coats! Rose's
continued participation In whatever matter they are Involved in with regards to R. Hassell. Please also
note that that we do not consent to the use of that letter for any purpose. If required to do so, we will
furnish testimony or affidavits about the letter consistent with this communication.

Also, be advised that until otherwise notified, Coats IRose is our counsel in all matters concerning our
relationship with Royce Hassell or his companies; therefore, should you need to communicate with us
regarding that relationship, please do so through Patrick Gaas at Coats IRose.
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One more thing-we did not authorize the receipt of the previous engagement agreement and retainer
check from Coats IRose. It was never disclosed to us that you had received the check. Please return
both items to me, they C!'!n be sent to Mr. Gaas.




Sincerely,
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                       EXHIBIT L
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                                                    12211 DUNCAN ROAD
                                                    HOUSTON, TEXAS 77066
                                                    PH. 281-893-2570
                                                    FAX 281-580-9170
                      HASSELL                       eGt. J976



                                   . NOTICE TO OWNER AND ORIGINAL CONTRACTOR

                                                                                                                             ·i
August 15, 2013

Stellar Oilfield Rentals
28024 N. Highway 2888
Angelton, TX 77515
CERTIFIED MAIL/RETURN RECEIPT
REQUESTED:# 70082810000135472240

R. Hassell Builders
12512 Cutten Rd. Suite A
Houston, TX 77066
CERTIFIED MAIL/RETURN RECEIPT
REQUESTED: # 70082810000135472257



         We have furnished labor and materials to R. Hassell Builders, contractor on the construction in progress on your
property located at 28024 N. Highway 288B, Angleton TX 77515. We have not been paid the amount due us through the
month of July in the amount of 143,881.27, as shown by the attached statement which is made a part hereof. Under the
mechanic's lien laws of Texas, a subcontractor or supplier of goods or labor Is required to notify the owner of all claims
which are not paid. Failure to give this notice may cause us to lose our rights under t~e mechanic's lien laws if the sums
are not finally paid.                                                                  )

     · The law requires that we advise you that if our bill is not paid, you may be personally liable and your property
subjected to a lien unless you withhold payments to the contractor for payment of our statement or unless the bill ls
otherwise paid or settled.                                                    ·

Demand is hereby made for the payment of our claim from funds withheld by owner unless the contractor disputes this
claim as required by law.

Should you have any question concerning our claim, please advise us. We will appreciate being advised if there is a
dispute as to our claim.



                                                 Sincerely,

                                                 Hassell Construction Company, Inc.

                                                  Jf,~/1£; /<)/ 6t::P--
                                                 ~~:i~. Hassell    r
                                                 Executive Vice-President



                                                                                            RECEIVED AUG 1.9 Z013
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                     EXHIBIT M
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                                             COATS ROSE
                                                             A Proftssio11al C01poratio11
       BJ\ADLli'.Y J. REFlVli'.S                                                                                          brcevcs@coatsrose.com
            ASSOCl1\TI!.                                                                                                        Direct Dial
                                                                                                                              (713) 653-5711


                                                               November 15, 2013

                                   N01JCE OF FILED AFFIDAVIT CLAIMING
                                   MECHANIC'S AND MATERIALMEN'S LIEN
           Via CeJ"ti(led .Mrtll/RRR #7196 9008 9111 8513 5565
           Stellar Oilfield Rentals
           28024 N. Highway 288B
           Angleton, TX 77 515
                   c/o Randy Pelt
                   P.O. Box 1839
                   Angleton, TX 77516-1839

                         Re:       Lien Affidavit of Hassell Construction Company, Inc. for Stellar Oilfield Rentals
                                   Prqject

           To Whom It May Concern:

                  Enclosed is a copy of the mechanic's and materialman's lien affidavit filed with the
           Brazoria County clerk on November 14, 2013.

                  Demand is hereby made upon you for the immediate payment of the amount claimed in
          the affidavit. If you know of any reason why you may not be liable for this obligation, in whole
          or in part, please inform us accordingly as soon as possible.

                  Also, if a payment pond has been furnished, please forward a copy of the affidavit to the
          surety and iet m; know the name and address of ihe surety and iis agent. We would also requesi a
          copy of the bond.

                 We regret that this action had to be taken. If there is any reason why you believe that you
          or your property should not be liable for this claim, please contact Pat Gaas or Brad Reeves of
          Coats, Rose, Yale, Ryman & Lee, P.C. within the next ten (10) days so that this matter can be
          resolved without formal legal action. Thank you for your assistance in this matter.




                                                                                                             RECEIVED NOV 1 8 Z013
                                               3 East Greenway Pfoza, Suite :WOO Houston, Te>os 77046-0307
                                                          Phone: 713-651-0111 flax: 713-651-0220
                                                                 Web: www r.rrnt~J'o~t:.com



                       HOUSTON       I   CLEAR U . KE   I AUSTIN I        DALLAS       I SAN ANTONIO I          NEW ORLEANS
4848-4037-1478.v I
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November 15, 2013
Page2




                                                   Patrick E. Gaas
                                                   Bradley J. Reeves

PEG/bjr
Enclosures

cc:      Via Ce1·tillerl Mflll!RRR #7196 9008 9111 8513 5572
         R. Hassell Bµjld~J:$, Inc.
         By and through registered agent:
         Royce J..Hassell
         12512 Cutten Rd., Suite A
         Houston, TX 77066-1822




4848-4037-1478.vl
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              AFFIDAVIT CLAIMING MECHANIC'S AND MATERIALMEN'S LIEN

  STATE OF TEXAS               §
                               §
  COUNTYOFHARRJS               §

         BEFORE ME, a notary public in and for the State of Texas, on this day personally
  appeared the undersigned, who being by me duly sworn, on oath states:
                                                      I

         1.       My name is James Phillip Hassell. I am President of Hassell Construction
  Company, Inc. ("Claimant") and ani authorized to make this affidavit on its behalf as the sworn
  statement of its claim.

         2.     Claimant furnished labor and/or materials for the improvement of the following
  described property in Brazoria County, Texas:

           Commonly lcnown as 28024 N. Highway 288B, Angleton, Brazoria County,
           Texas 77515.

         3.     The name and last known address of the person or entity to whom the labor and/or
 materials were furnished for such improvement is Stellar Oilfield Rentals, care of Randy Pelt,
 P.O. Box 1839, Angleton, Texas 77516-1839, at the request of R. Hassell Builders, Inc., care of
 registered agent, Royce J. Hassell, 12512 Cutten Rd., Suite A, Houston, TX 77066-1822. ·It is
 believed that the labor and/or materials were furnished to Stellar Oilfield Rentals pursuant to a
 request made to R. Hassell Builders, Inc., who in tum requested the labor and/or materials be
 furnished by Claimant.

        4.     The name and address of.the Original Contractor for such improvement is R.
 Hassell Builders, Inc., care of registered agent, Royce J. Hassell, 12512 Cutten Road, Suite A,
 Houston, TX 77066-1822.

       5.     The name and last lrnown address of the owner or reputed owner of the land and
the improvements thereon is Stellar Oilfield Rentals, care of Randy Pelt, P.O. Box 1839,
Angleton, Texas 77516-1839.

        6.      The labor and/or material furnished by Claimant is generally described as
provided materials, equipment, and labor to remove existing materials and place on-site, grade
existing areas and place asphalt base for driving and/or parking/storage areas. Claimant is hereby
asse11ing a claim for work performed and/or materials furnished in the months of April, May,
June, and July, 2013.

        8.     The amount due, owing and unpaid to claimant for such labor and/or material is
$143,881.27, which is true, correct, and just, with all just and lawful offsets, payments, and
credits known to affiant allowed.

       9.      Claimant's name is Hassell Construction Company, Inc. and its mailing and
physical address is 12211 Duncan Road, Houston, TX 77066.



4828-4571-3 173. v I
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           10.     Claimant sent its Notice of Claim to Stellar Oilfield Rentals and R. Hassell
  Builders, Inc., on August 15, 2013 by certified mail, return receipt requested. A second notice
  was sent to Stellar Oilfield Rentals and R. Hassell Builders, Inc. on September 13, 2013 prior to
  the filing of this lien affidavit.

         Claimant claims a lien against all the above described property and improvements
  thereon in the amount shown above pursuant to Chapter 53 of the Prope1iy Code of the State of
  Texas, and makes this sworn statement of claim in support thereof.

        Claimant expressly claims a first lien on all removables and claims a Constitutional
  mechanic's and materialman's lien to the extent that Claimant is deemed an Original Contractor.


                                                                                                                                                 ELL CONSTRUCTION COMPANY, INC.




      Subscribed and sworn to before me by the aid James Phillip Hassell this 14th day of
 November, 2013, to ce1iify which witness my hand and seal of office.


                                MARTHA E. BREIDENTHAL
                                  MY COMMISSION EXPIRES:
                                      May04, 2016
                                                                                                                                 ~(k:~~
                                                                                                                                 Nota-;:-y Public in and for.the
                                                                                                                                 STATE OF TEXAS

 STATE OF TEXAS                                                                           §
                                                                                          §
 COUNTY OF HARRIS                                                                         §

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Hassell, President of Hassell Construction Company, Inc., known to me to be the person whose
name is subscribed to the foregoing instrument, who after being by me duly sworn
acknowledged that the statements contained above arc true and conect, that he/she executed
same for the purposes and consideration therein expressed, in the capacity therein stated, and as
the act and deed of said corporation.

          Given under my hand and seal of office, this l 4th day of November! 2013.




      ®
                                                                                                                                -·~"--fbl-:&a..ll_~~~~~...d...!.!.~~:;LLl4;1Z.:.i,a~
                           MARTHA E. BREIDENTHAL
                             MY COMMISSION EXPIRES:                                                                             Not  Public in and for the
                                      May· 04, 2016                                                                             STATE OF TEXAS




                                                                                                                    2
4828-4571-J 173.vl
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 AFTER RECORDING RETURN TO:

 Patrick E. Gaas
 Coats, Rose, Yale, Ryman & Lee, P.C.
 3 E. Greenway Plaza, Suite 2000
 Houston, TX 77046


 4847-6315-1893, v. 1




                                        3
4828-4571-3173.vl
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                       FILED and RECORDED
Instrument Number: 2013055624
Fiiing and Recording Date: 11/14/2013 04:35:08 PM Pages: 4 Recording Fee: $24.00
I hereby certify that this Instrument was FILED on the date and time stamped hereon and
RECORDED in the OFFICIAL PUBLIC RECORDS of Brazoria County, Texas.



                                        q~.
                                   Joyce Hudman, County Clerk
                                   Brazoria County, Texas



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